Case 1:19-md-02875-RMB-SAK   Document 2663-1   Filed 02/26/24   Page 1 of 16
                             PageID: 98212



                UNITED STATES DISTRICT COURT
                   DISTRICT OF NEW JERSEY


IN RE VALSARTAN,
LOSARTAN, AND                                   MDL No. 2875
IRBESARTAN PRODUCTS
LIABILITY LITIGATION
                                        HON. ROBERT B. KUGLER
                                         CIVIL NO. 19-2875 (RBK)
THIS DOCUMENT RELATES TO
ALL CASES




              PLAINTIFFS’ BRIEF IN OPPOSITION TO
             ZHP DEFENDANTS’ MOTIONS IN LIMINE
Case 1:19-md-02875-RMB-SAK                       Document 2663-1               Filed 02/26/24          Page 2 of 16
                                                 PageID: 98213



                                         TABLE OF CONTENTS

MOTIONS ...............................................................................................................1

    1. ZHP’s motion regarding internal communications on regulatory issues ......1

    2. ZHP’s motion regarding destruction of inadequately tested batches of
       valsartan API .................................................................................................1

    3. ZHP’s motion regarding the Charles Wang/Jim McDonald emails ..............5

CONCLUSION ........................................................................................................12




                                                            i
Case 1:19-md-02875-RMB-SAK                    Document 2663-1            Filed 02/26/24        Page 3 of 16
                                              PageID: 98214



                                   TABLE OF AUTHORITIES

Cases

Lippay v. Christos,
      996 F.2d 1490 (3d Cir. 1993) ................................................................. 12

Metro-Goldwyn-Mayer v. Grokster,
     454 F. Supp. 2d 966 (C.D. Cal. 2006) .................................................... 11

Mitchell v. Sun Drilling Prods., Inc.,
      No. 95-1487, 1996 WL 411613 (E.D. La. July 22, 1996)...................... 11,12

Sanofi v. Lupin Atl. Holdings S.A.,
      282 F. Supp. 3d 818 (D. Del. 2017) ....................................................... 10

Rules, Statutes, & Regulations

Federal Rule of Evidence 403 .......................................................................... 5

Federal Rule of Evidence 801 .......................................................................... 11




                                                       ii
Case 1:19-md-02875-RMB-SAK        Document 2663-1     Filed 02/26/24   Page 4 of 16
                                  PageID: 98215



                                   MOTIONS

   1. ZHP’s motion regarding internal communications on regulatory issues.

      ZHP’s motion focuses on two instances in which Prinston’s head of quality,

Remonda Gergis, criticized ZHP’s lack of cGMP compliance. ZHP’s inadequate

overall approach to quality and the fact that Prinston was on notice of ZHP’s

inadequate overall approach to quality are relevant facts. There is nothing unduly

prejudicial in showing the jury that these issues were recognized years before ZHP’s

cGMP failures with the valsartan products. If the Court has any concerns, at the

least this information should be permitted if ZHP makes (and is permitted to make)

any statements about its quality record or adherence to cGMPs in general.

   2. ZHP’s motion regarding destruction of inadequately tested batches of
      valsartan API.

      ZHP paints its August 2017 destruction of an out of specification (“OOS”)

batch—meaning it failed to meet specifications—of valsartan as a routine non-event.

ZHP emphasizes that this “was almost a year before ZHP first learned that its

valsartan API contained NDMA. . . As a result, there is no evidence that ZHP had a

duty to retain these OOS samples of valsartan API in August 2017, and certainly no

reason to suggest that ZHP acted improperly in discarding valsartan batches C5191-

17-023/024.” (ZHP Br. 4).




                                         1
Case 1:19-md-02875-RMB-SAK        Document 2663-1     Filed 02/26/24   Page 5 of 16
                                  PageID: 98216



      However, that logic is built on a false foundation since this deviation

investigation began on August 2, 2017—after Jinsheng Lin sent his July 27, 2017

email confirming that there was NDMA in the valsartan and identified the root cause.

That email was sent to Jucai Ge, the head of quality assurance, Linda Lin, the head

of regulatory, Min Li, the head of CEMAT where Mr. Lin worked, and Peng Dong,

the head of the technical department, among others. ZHP’s explanation is not

credible or faithful to the facts, and certainly is not a reason to withhold this

document from the jury.

      The crux of the issue is that ZHP inadequately evaluated the OOS finding in

a commercial batch of valsartan API beginning on August 2, 2017. ZHP never

identified the impurity due to inadequate testing, and did not identify the root

cause, even though ZHP was required by the controlling SOP,



                                                                        Then ZHP

inexplicably destroyed this OOS batch on August 22, 2017. (Jucai Ge 4/28/21 Dep.

Tr., 164:13-24, 165:16-166:11, 174:6-175:6, 176;11-14, 180:21-182:5, 182:16-

183:4 (Ex. 37)).1 This is a highly relevant snapshot of ZHP’s inadequate approach

to quality overall, and the context within which ZHP failed to prevent the



1
 Unless otherwise noted, the exhibits cited in this brief are attached to Adam M.
Slater’s certification in opposition to Defendants’ motions in limine.

                                         2
Case 1:19-md-02875-RMB-SAK       Document 2663-1    Filed 02/26/24   Page 6 of 16
                                 PageID: 98217



contamination of the valsartan API.

      Also unstated in ZHP’s motion is that the FDA cited the destruction of this

API batch in the Establishment Inspection Report against ZHP (“EIR”):

      OBSERVATION 3

      The system for managing quality to ensure confidence that the API
      will meet its intended specifications for quality and purity is not
      adequate in that your quality unit lacks written procedures and the
      authority and responsibility to ensure all critical deviations are
      thoroughly investigated.

      Specifically,
                                    ***
      b) major Deviation DDW02-17003 was initiated August 2, 2017 and
      closed September 11, 2017 for Valsartan batches D5191-17-023 and
      D5191-17-024 with OOS results for a single unknown impurity
      (specification < 0.10%). You confirmed OOS results for Valsartan
      batches D5191-17-023 single unknown impurity 0.33%, and DS191-
      17-024 single unknown impurity 0.38%.

      i) you did not identify a root cause for the single unknown impurity
      results in batches D5191-17-023 and DS191-17-024. You stated the
      root cause was probably due to occasional fluctuation in your
      manufacturing process. You did not attempt to identify this single
      unknown impurity. You did not attempt to identify the source of
      fluctuations in your manufacturing process for Valsartan.

      ii) you did not develop an adequate Corrective Action and
      Preventive Action (CAPA) plan. ….

      iii) you did not conduct a thorough risk assessment. ….
                                       ***
      Supporting Evidence and Relevance
                                      * * *
      I asked Mr. Dong if the firm attempted to identify the single unknown
      impurity. Mr. Dong stated no. I asked Mr. Jinyi Li, QA Manager West
      Zone, if the firm identified the single unknown impurity. Mr. J. Li

                                       3
Case 1:19-md-02875-RMB-SAK         Document 2663-1     Filed 02/26/24    Page 7 of 16
                                   PageID: 98218



      stated no. Mr. J. Li further stated historically it is a small peak so the
      firm thinks it is an isolated case. Dr. Li stated it is not necessary to
      identify a single unknown impurity at this level.
                                        * * *
      Deviation DDW02-17003 did not include investigation of the raw
      material used in the manufacture of Valsartan to review the quality
      of the raw materials or identify any OOT raw material test results.
                                        * * *
      I asked Mr. Dong if the firm attempted to identify the source of
      fluctuation in the firm’s manufacturing process for Valsartan. Mr.
      Dong stated no, the firm reviewed the batch record and did not identify
      any abnormalities. The firm identified a set of possible factors that may
      impact the size of the single unknown impurity. I asked Mr. Dong if the
      firm proved or disproved the firm’s hypothesis regarding the possible
      factors that may impact the size of the single unknown impurity. Mr.
      Dong stated no. I asked Mr. Dong if the firm performed any additional
      cleaning in response to this investigation. Mr. Dong stated no.

(PRINSTON00162382-162386 (emphasis added) (Ex. 20)). Thus, the FDA heavily

criticized ZHP’s conduct in this exact instance with regard to valsartan.

      Moreover, this was a long-standing, ongoing cGMP problem with ZHP.




                                                       (Hai Wang 3/11/21 Dep. Tr.,

559:4-8, 559:12-560:16 (Ex. 38)). Then, “When an out of specification result is

obtained, current practice is [to] conduct a primary investigation, if no assignable

cause is found, a process is filed and it’s discussed there…The above practice reveals



                                          4
Case 1:19-md-02875-RMB-SAK          Document 2663-1      Filed 02/26/24   Page 8 of 16
                                    PageID: 98219



major misinterpretation to the FDA guideline of the out of specification testing…”

(Id. at 562:9-14, 562:17, 562:19-563:4). This is exactly what happened in August

2017, and is what the FDA pointed to in the EIR. This systemic problem that ZHP

failed to rectify is not mentioned by ZHP in its motion, which is framed as if the

deviation investigation deficiencies were an isolated, onetime event (as if that would

be exculpatory, which it would not be anyway). ZHP’s vague threat that if this is

raised, there will be a mini-trial on this action is of no moment. There is no

explanation for why that would be problematic. ZHP’s failure to adequately

evaluate OOS findings, as part of its overall failure to adequately evaluate the quality

of the products it was manufacturing, and ill-conceived decision to destroy the entire

batch without first complying with ZHP’s own SOP requiring identification of the

impurity and root cause, is relevant and presents no issues under F.R.E. 403.

   3. ZHP’s motion regarding the Charles Wang/Jim McDonald emails.

      ZHP’s motion is premised on a disingenuous presentation of the issue and the

testimony from Min Li as to what occurred. On that basis, ZHP argues that Charles

Wang was not acting as ZHP’s agent—even though he was hired and paid by ZHP

to advise it on the toxicity of NDMA and to draft ZHP’s position on the issue. ZHP

also ignores the fact that the testimony by Min Li documents ZHP’s understanding

of the risk level with NDMA, and the information available to the company in

making its decisions on how to approach the upcoming meeting with the FDA—in


                                           5
Case 1:19-md-02875-RMB-SAK         Document 2663-1     Filed 02/26/24   Page 9 of 16
                                   PageID: 98220



which ZHP hoped to convince the FDA to let ZHP continue to sell its contaminated

API. Even if hearsay, which it is not, it would be admissible under the business

records, state of mind, and notice exceptions to the hearsay rules, since it shows the

information that was available to ZHP in charting its path forward.

      The full facts are straightforward. On June 5/6, 2018, Min Li contacted

Charles Wang, who was a toxicologist and the Director of the Safety Assessment

group at another pharmaceutical company, GlaxoSmithKline. (Min Li 4/22/21 Dep.

Tr. 538:20-539:10, 539:13-23, 540:1-3, 575:15-576:11 (Ex. 22)).

      Min Li knew Charles Wang and trusted him as a reliable expert in toxicology,

and contacted him “because we received a notice and we, you know, need to have

an expertise, you know, to evaluate from the, you know, toxicological perspective.”

Further, “we didn’t know anybody, you know, else in terms of the, you know,

professional toxicologist, right? And due to the urgency, you know, you know, of

this nature, we had to, you know, invoke him, right?” (Id. at 551:15-18, 551:21-

552:6, 552:8-16, 577:7-10, 577:13-578:5).

      Min Li sent Charles Wang a WHO article regarding the toxicology of NDMA.

(Id. at 538:20-539:10, 540:1-9; see also ZHP02170975 (Ex. 39)). That article was

then cited and quoted in Charles Wang’s report, and the ZHP Deviation Investigation

Report. (ZHP01881234 (Ex. 40); ZHP00004388 (Ex. 41)).

      On June 10, 2018, Charles Wang sent Min Li a draft report as to the risk level


                                          6
Case 1:19-md-02875-RMB-SAK        Document 2663-1      Filed 02/26/24   Page 10 of 16
                                   PageID: 98221



posed by NDMA, including a proposed limit of 0.011 ppm, but qualifying that

suggestion with the caveat that, “I can take out the limit of 0.011 parts per million

if you are unable to achieve it.” (Min Li 4/22/21 Dep. Tr. 555:1-15 (quoting

CHARLESWANGO00290 (Ex. 42)); see also ZHP02170920 (stating,



                                ) (Ex. 43); PRINSTON00399001 (sending Charles

Wang arguments from customers to refute) (Ex. 44)).

      During his back and forth with Min Li, on June 22, 2018, Charles Wang

advised that it would be helpful for him to also bring in another toxicologist with

more specialized background as to carcinogens like NDMA: “I suggest Huahai to

hire a carcinogenicity consultant to perform the analysis, who knows risk assessment

of carcinogen and kept updated in regulatory guideline and standards in this field. If

needed, I can recommend a couple to you for consideration.” (Min Li 4/22/21 Dep.

Tr. 573:7-574:5, 574:8-13).

      Min Li agreed, and Charles Wang then reached out to Jim McDonald, a

toxicologist with more specialized knowledge—for the purpose of advising ZHP at

ZHP’s request. Mr. Wang wrote on July 5, 2018 stating, “Friend of mine is looking

forward a consultant in United States to help them define their product at FDA. Give

me a call if you are interested…" He also advised Jim McDonald in a follow-up

email, “My friend’s company will have a face-to-face meeting with FDA to [decide,


                                          7
Case 1:19-md-02875-RMB-SAK         Document 2663-1    Filed 02/26/24   Page 11 of 16
                                    PageID: 98222



sic] if they should recall their product in US market next Thursday and likes to get

some advice from people like you quickly…their client in EU [Novartis] said [the

limit] should be at 0.3 parts per million based on TD50 calculation…they would like

to know if they can argue to set limit higher based on NDMA is considered a Class

2A carcinogen (limit at threshold of toxicological concern of 1.5 micrograms per

day) and the longest duration of human exposure in US will be less than 3 years…Let

me know if your company can help. I will ask them to contact you directly and send

you more details.” (Id. at 574:22-575:4, 575:7-13, 624:18-625:4, 628:22-629:4,

630:5-13, 631:14-22).

        In this connection, Min Li confirmed, when asked, “[A]t that point you were

aware and you had authorized Mr. Wang to find an independent consultant for

you?” that, “It looks like, yeah, we asked him probably, you know, yeah, to go

ahead and try to find.” (Id. at 622:15-20, 622:23-623:1). Min Li also agreed that

“as you said earlier, you had a lot of trust in Mr. Wang, considered him to be a

reliable expert, so you asked him to go find you the most qualified person he could

find basically.” (Id. at 625:20-626:2).

        Jim MacDonald,2 who was told the contamination only reached 30 ppm, when

it was actually at much higher levels, advised Charles Wang as to what he should

tell ZHP: “NDMA (or dimethylnitrosamine) is a pretty well-known toxin and animal


2
    Plaintiffs have served James MacDonald with a trial subpoena.

                                          8
Case 1:19-md-02875-RMB-SAK         Document 2663-1      Filed 02/26/24   Page 12 of 16
                                    PageID: 98223



carcinogen…the body of evidence on this suggests pretty clearly that this is a likely

human carcinogen at sufficient exposures…The argument that the company would

have to make to keep this product on the market will be very difficult with this

profile. I’m not exactly sure where one would begin given the very high levels you

think they are seeing….I think the strategy I would probably recommend would be

to come up with a CMC plan to remove the contaminant (at least to minimally

detectable levels) while they recall the existing product and reformulate. I expect

this is not what they would want to hear but, unless there is a compelling reason to

leave this product on the market (e.g.: only product available to treat a serious, life-

threatening disease), I would expect the FDA would ask for a recall…this is not a

good position for this product in my view.” (Id. at632:4-633:1, 633:3-20, 638:24-

639:19).

      This information was shared with Min Li. When asked to confirm that, “Mr.

Wang relayed to you that he had spoken with Jim MacDonald and what the result of

that interaction had been after he had heard from Mr. MacDonald,” Min Li

confirmed, “I don’t remember the details. He probably talked to me verbally, at

least.” (Id. at 639:20-24, 640:3-4). He also confirmed that this information was

provided to Jun Du, “at a certain point, you know, he came to know.” (Id. at

650:14-18, 650:21-24). Charles Wang told Jim MacDonald,

                                               . (CHARLESWANG000444 (emphasis


                                           9
Case 1:19-md-02875-RMB-SAK       Document 2663-1      Filed 02/26/24    Page 13 of 16
                                  PageID: 98224



added) (Ex. 42)).

      ZHP then followed Jim MacDonald’s advice, quickly moving to develop an

“optimized” version of the zinc chloride process that would quench the sodium azide

with sodium nitrite but only when the “product” was separated out so it would

not become contaminated. (Ex. 51). The patent, which was filed on July 17, 2018,

even adopts his conclusion that NDMA is a “highly toxic impurity” and describes

the new process as “ensuring the valsartan medication safety.” (Id.).

      Min Li and Jun Du confirmed that Charles Wang was paid for this work. (Jun

Du 5/28/2021 Dep. Tr. 278:15-279:7 (Ex. 45); ZHP00675949 (Ex. 46)).

      These facts clearly meet the standard set forth in the cases cited by ZHP. The

first case—Sanofi v. Lupin Atl. Holdings S.A., 282 F. Supp. 3d 818, 840 (D. Del.

2017)—concerned statements from doctors running an independent clinical study of

a drug and held that those statements were hearsay. Here, Charles Wang was hired

by ZHP, and was focused on giving ZHP what it was looking for—even offering to

change his findings to raise the recommended levels allow ZHP to comply with

them. (Min Li 4/22/21 Dep. Tr. 555:1-15 (quoting CHARLESWANGO00290 (Ex.

Ex. 21))). He then consulted with James MacDonald after clearing that with ZHP,

for ZHP’s purposes, and adopted James MacDonald’s objective advice as his own,

although he was obviously willing to change that advice at ZHP’s direction.

(CHARLESWANG000444 (emphasis added) (Ex. 42); ZHP02170920 (Ex. 43);


                                        10
Case 1:19-md-02875-RMB-SAK        Document 2663-1     Filed 02/26/24   Page 14 of 16
                                   PageID: 98225



PRINSTON00399001 (Ex. 44); ZHP01881288 (stating



                                                 (emphasis added)) (Ex. 50)).3 The

Sanofi court also failed to address whether the hearsay was admissible for any other

purposes besides the truth of the matter asserted. As explained above, the emails are

admissible under the state of mind and notice exceptions to the hearsay rules.

Plaintiffs have subpoenaed Mr. MacDonald to confirm his advice and

communications with Charles Wang in Court, invalidating any hearsay concerns.

      The second case—Mitchell v. Sun Drilling Prods., Inc., No. 95-1487, 1996



3
  Other courts have rejected arguments like ZHP’s: “In the instant case, a large part
of the evidence consists of emails by StreamCast CEO Michael Weiss, chairman
Steven Griffin, chief technology officer Darrell Smith, director Bill Kallman, vice
president for marketing Trey Bowles, network operations manager Derek Anderson,
and software engineer Paul Panetti. StreamCast admits that these individuals served
as its corporate officers or employees during the relevant time period. Another
StreamCast employee, Jody Pace, was identified by Griffin's deposition testimony.
Thus, emails sent by these individuals are all admissible non-hearsay under Rule
801(d)(2)(D). To the extent other content is incorporated into these emails, and to
the extent the StreamCast agent expresses approval thereof, the incorporated content
is admissible as vicarious adoptions. See [F.R.E.] 801(d)(2)(B). The record also
contains a number of emails from Margaux Schaffer, a graphic design professional.
StreamCast admits that Schaffer performed work for StreamCast during the relevant
period, but argues that Schaffer's emails do not fall within the ambit of Rule
801(d)(2)(D) because she was an independent contractor rather than an employee.
However, a statement is admissible under Rule 801(d)(2)(D) so long as it is made
by an agent within the scope of agency, regardless of the precise contractual
relationship between the agent and the party against whom the evidence is offered.
[F.R.E.] 801(d)(2)(D).” Metro-Goldwyn-Mayer v. Grokster, 454 F. Supp. 2d 966,
973–74 (C.D. Cal. 2006).

                                         11
Case 1:19-md-02875-RMB-SAK       Document 2663-1     Filed 02/26/24   Page 15 of 16
                                  PageID: 98226



WL 411613, at *2 (E.D. La. July 22, 1996)—concerned statements of non-

employees without any discussion of agency and disregarded the exceptions to

hearsay without any analysis. It does not help Defendants here. Lippay v. Christos,

996 F.2d 1490, 1498 (3d Cir. 1993), explained that “an agency relationship is

established only where the party-opponent personally ‘directed [the declarant's]

work on a continuing basis.’” Here, Charles Wang requested ZHP approval to

contact James MacDonald. ZHP provided that approval. Charles Wang then

contacted James MacDonald, with ZHP’s blessing, and adopted his advice as his

own. Thus, throughout the relevant time period, ZHP was in control of Charles

Wang’s efforts, making him its agent. Additionally, Plaintiffs can call James

MacDonald to confirm the contents of his emails. ZHP’s remaining cases are equally

distinguishable because ZHP did not hire Charles Wang for his independent advice.

      As stated above, ZHP also ignores the fact that Min Li testified to the entire

interaction, and his knowledge of the findings and advice, and this was passed on

internally to Jun Du as well. Thus, this information was clearly obtained and

communicated within the company for ZHP’s purposes, is admissible, and the

testimony about it constitutes an admission as to what ZHP did and why.

                                 CONCLUSION

      For the foregoing reasons, the Court should deny the ZHP Defendants’

motions in limine.


                                        12
Case 1:19-md-02875-RMB-SAK       Document 2663-1   Filed 02/26/24   Page 16 of 16
                                  PageID: 98227




Dated: February 26, 2024                Respectfully submitted,

/s/ Ruben Honik                             /s/ Daniel Nigh
Ruben Honik                                 Daniel Nigh
HONIK LLC                                   Nigh Goldenberg Raso & Vaughn,
1515 Market Street, Suite 1100              PLLC
Philadelphia, PA 19102                      14 Ridge Square NW
Phone: (267) 435-1300                       Third Floor
ruben@honiklaw.com                          Washington, D.C. 20016
                                            Phone: (850) 600-8090
                                            dnigh@nighgoldenberg.com

/s/ Adam Slater                             /s/ Conlee S. Whiteley
Adam Slater                                 Conlee S. Whiteley
MAZIE, SLATER, KATZ &                       KANNER & WHITELEY, LLC
FREEMAN, LLC                                701 Camp Street
103 Eisenhower Pkwy, 2nd Flr.               New Orleans, LA 70130
Roseland, NJ 07068                          Phone: (504)-524-5777
Phone: (973) 228-9898                       c.whiteley@kanner-law.com
aslater@mazieslater.com

MDL Plaintiffs’ Co-Lead Counsel

/s/ Jorge Mestre                            /s/ Gregory P. Hansel
Jorge Mestre                                Gregory P. Hansel
RIVERO MESTRE LLP                           PRETI, FLAHERTY, BELIVEAU &
2525 Ponce de Leon Blvd., Suite 1000        PACHIOS, CHARTERED, LLP
Miami, FL 33134                             One City Center
Phone (305) 445-2500                        P.O. Box 9546
jmestre@riveromestre.com                    Portland, ME 04112
                                            Phone: (207) 791-3000
                                            ghansel@preti.com

Third-Party Payor Economic
Loss Co-Lead Class Counsel




                                       13
